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                   United States Court of Appeals
                                  FIFTH CIRCUIT
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LYLE W. CAYCE                                                       TEL. 504-310-7700
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                            November 18, 2021


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United States District Court
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Austin, TX 78701-0000

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      No. 21-51083       E.T. v. Paxton
                         USDC No. 1:21-CV-717
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Dear Ms. Clack, Mr. Duke, Mr. East, Mr. Gaddis, Mr. Kercher, and
Ms. Rogers,
Attached is a revised case caption, which should be used on all
future filings in this case.


                               Sincerely,
                               LYLE W. CAYCE, Clerk


                               By: _________________________
                               Laney L. Lampard, Deputy Clerk
                               504-310-7652
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                           Case No. 21-51083




E.T., by and through her parents and next friends; J.R., by and
through her parents and next friends; S.P., by and through her
parents and next friends; M.P., by and through her parents and
next friends; E.S., by and through her parents and next friends;
H.M., by and through her parents and next friends; A.M., by and
through her parents and next friends,
                       Plaintiffs - Appellees
v.
Kenneth Paxton, in his official capacity as Attorney General of
Texas,
                       Defendant - Appellant
